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JUDICIAL cmcUIr, IN AND FoR
DUVAL coUNTY, FLORJDA

CASE NO.: 201 8-CA-7168
DIVISION: CV-E

MARY PENELOPE LAKOSKEY,

AMOS LOVET'I`,

PLAINTIFFS,

vs.

BONIFACIO T. FLORO, individually;

HEATHER WALSH-HANEY, individually;

MARGARITA ARRUZA, iodiviclually;

VAL`ERIE J. RAO, individually;

OFFICE OF THE MEDICAL EXAMINER
FOR DISTRICT FOUR;

DEFENDAN'I'S.

 

COMPLAINT AND DEMAND FOR JURY TRIAL
PLAINTIFFS_bring this action seeking compensatory damages and alleges the following:
l. This is an action brought pursuant to 42 U.S.C. § 1983 and Florida law. The
Defendants in this case unlawii.\lly withheld the remains ofTina Lovett for personal, educational,
and research use without providing notice or seeking permission to do so from her next of kin.
JURISDICTION AND VENUE
2. Iurisdiction in this court is proper, pursuant to § 26.012(2)(a) Fia. Stat., because

PLAINTIFFS seek damages in excess of $15,000.

 

ACCEPTED: DUVAL COUNTY, RONNIE FUSSELL, CLERK, 10/19/2018 03:06:06 PM

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3. Venue in this court is proper pursuant to §47.011 Fla. Stat., because the cause of
action arose in this district.

n PARTIES

4. Plaintift`, Mary Penny Lakoslcey is a citizen of the United States and a resident of
Minnesota. She is the mother and legal next-of-k.in of Tina Lovett.

5. Plaintiff, Amos Lovett is a citizen of the United States and a resident of
Minnesota. He is the brother of Tina Lovett.

6. Defendant Dr. Bonifacio T. FLORO was the Medical Examiner for District Four,
located in Jacksonvi]le during the period between May 1984 and January 1992. At all times
relevant, Defendant FLORO acted under color of state law.

7. Defendant Dr. Heather WALSH HANEY Was, on or about May 2005 employed
as a graduate student and laboratory manager at the University of Florida C.A. Pound Human
Identiiication Laboratory located in Gainesville, Florida. On or about August 2005, Defendant
Dr. Heather WALSH HANEY was employed by Florida Gulf Coast University an associate
professor. At all times relevant, Defendant WALSH HANEY acted under color of state law.

8. Defeudant Dr. Margarita ARRUZA was the Medical Examiner for District Four,
located in Jacksonville, Florida on or about the period from May 2000 to August 2005 . At all
times relevant, Defendant ARRUZA acted under color of state law.

9. Defendant Dr. Valerie J. RAO, was the Medical Examiner for District Four,
located in Jacksonville, Florida on or about May 2016 through August 2017. At all times
relevant, Defendant RAO acted under color of state laW.

10. Defcndant the OFFICE OF THE MEDICAL EXAMINER FOR DISTRICT

FOUR is an agency of the State of Florida created by the Medical Examiner’s Commission

 

 

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within the Department of Law Enforcement, pursuant to Chapter 406 Florida Statutes (also
known as “'I` he Medical Examiner’s Act) and is located in Jacksonville, Florida.
FACTUAL ALLEGATIONS

11. On April 21 , 1984, Tina Lovett went missing from home in Jacksonville, Florida
where she was living with her mother and brother. _

12. On May 8, 1984, a law enforcement officer discovered Ms. Lovett’s remains at
the end of an unnamed dirt road in Jacksonville, Florida. The oEcer found her lying face down
and naked in an area used as a dumping ground for dead animals, junked cars, and other refuse.
Her body was found in a highly decomposed state.

13. At the time of her death, .Ms. Lovett was seventeen years old.

14. When Plaintiff LAKOSKEY learned of her young daughter’s death, the shock of
the news caused her to suffer a mental breakdown and she was hospitalized in St. Vincent’s
Medical Center in Jacksonville, Florida.

15. Due to the suspicious nature of her death, the Jacksonville Sherifi’s Office
transferred Ms. Lovett’s remains to the OFFICE OF THE MEDICAL EXAMINER FOR l
DISTRICT FOUR, located in Jacksonville, Florida.

16 . While at the medical examiner’s ofiice, Ms. Lovett’s remains were placed in the
custody of Dei`endant Dr. Bonafacio T. FLORO, who was the Medical Examiner for District
F our at the time.

17. Defendant FLORO ruled Ms. Lovett’s death a homicide, but he was unable to

determine the exact cause of death due to the decomposed state of her remains.

 

 

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18. On May l_ l, 1984, Plaintiff LAKOSKEY signed a release authorizing the medical
examiner, upon conclusion of his duties with respect to the body of Ms. Lovett, to release Ms.
Lovett’s remains to the Altemate Interment Funeral Home, located in lacksonvillc, Florida,

19. On or about that date, Defendant FLORO released some of Ms. Lovett’s
remains-consisting ofthe bones of her legs and feet-to the Altemate Interment Funeral Home.

20. Defendant FLORO retained the majority of Ms. Lovett’s remains at the
MEDICAL EXAMINER’S OFFICE FOR DISTRICT FOUR. These remains included Ms.
Lovett’s ribcage, femur, and slcull.

21. At no point in time did Defendant FLORG or any other employee of the
MEDICAL EXAMINER’S OFFICE FOR DISTRICT FOUR inform PLAINTIFFS that they
were retaining part of Ms. Lovett’s remains, nor did they obtain permission from any of the
decedent’s family members to do so.

22. On May 14, 1984, the Lovett family held a funeral for Ms. Lovett. Ms. Lovett’s
hiends and family attended the funeral and her high school dismissed classes early that day so
that Ms. Lovett’s schoolmates could also attend. Following the service, the Lovett family
armed what they believed to be nlost. Lovea’sremains. n

23. While the Lovetts were grieving the death of their daughter, the Jacksonville
Sheriif's Office identified a vehicle belonging to Thomas Alan Dixon' at the scene of the crime.

24. When officers questioned Mr. Dixon, he provided a false alibi, which prompted
the Jacksonville Sheritf’ s Ofiice to arrest him and charge him with the murder of Ms. Lovett.

' 25.. On May 15, 1984, the Circuit Court for the Fourth ludicial Circuit in and for
Duval County Florida dismissed the criminal charges against Mr. Dixon for lack of evidence

establishing probable cause. Mr. Dixon was released from jail two days later.

 

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26. Mr. Dixon was the only suspect in Ms. Lovett’s murder. l

27. The Florida Rules of Criminal Procedure provide that “every person shall be
brought to trial within 90 days of arrest if the crime charged is a misdemeanor, or within 175
days of arrest if the crime charged.” Fla. R. Crim. P. Rule 3.18] (a) (1984). Thus, alter November

6, 1984 any prosecution for Ms. Lovett’s murder was, for all practical purposes‘, impossible

 

28. From May 1 1, 1984 until Ianuary 10, 1992, Defendant FLORO retained
possession of Ms. Lovett’s uninterred remains.

29, On January 10, 1992, Defendant FLORO released Ms. Lovett’s uninterred

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remains to the C.A. Pound laboratory at the University of Florida

30. Providing these remains to the University of Florida did not iilrther any law
enforcement goals, because there was no investigation or prosecution for Ms. Lovett’s murder at
that time. Furthermore, The Medical Examiner’s Act prohibits such institutions from receiving
remains for such purposes Speeiiically, § 406.59 Fla Stat. states that “Human remains received
by [a] university, school, college, teaching hospital, or other institution may not be used for any
purpose other than medical education or research.”

31. As such, Ms. Lovett’s remains were provided to the University of Florida for ,
medical education, research, or for some other non~law enforcement related purpose-without
the permission of Ms. Lovett’s legal next ofkin.

32. On March 6, 1992, Dr. William R. Maples, on behalf of the University of Florida,

submitted a report of osteological examination to Defendant FLORO based on his examination

 

1 At that time, Rule 3.181 afforded defendants who had not been tried within the speedy trial
window the remedy of permanent discharge On November 29, 1984, the Florida Suprenie Court
adopted an amendment to the rule that allowed the State to try a felony charge within ten days if a
petition for discharge was Hled. The Florida Bar re.' Amendment to Rules-Criminal Procedure,
462 So.2d 386 (Fla. 1985). This amendment went into effect on January l, l985--aiter Mr.
Dixon’s speedy trial Window had run. Id. at 386.

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of Ms. Lovett’s uninterred remains. Such identification was not necessary for any law
enforcement purpose, because the remains had already been identified by PlaintiH`LAKOSKEY
as belonging to Ms. Lovett.
33. On May 28, 1998, the Florida Legislature passed an Amendment to the Medical
Examiner’s Act to more explicitly provide the legal-next of kin of deceased individuals greater
rights to notice and control of a dccedent’s remains Specitically, the amendment provided:
A medical examiner may not retain or furnish any body part of the
deceased for research or any other purpose which is not in
conjunction with a determination of the identification of or cause or
manner of death of the deceased or the presence of disease or which
is not otherwise authorized by this chapter . . . without notification
of and approval by next of kin.

Laws ofFla. Ch. 98-253 (C.H.SB 1329) codified at § 406.11(b) Fla Stat. (1998)

34. From March 6, 1992 until May 12, 2000, Ms. Lovett’s uninterred remains were
stored at the C.A. Pound Laboratory at the University of Florida

35. At no point in time did, or any employee of the University of Florida provide
notice or seek permission from PLAlN'I`lFFS or any other member of Ms. Lovett’s family to
retain Ms. Lovett’s remains for over eight years.

36. On May 12, 2000 Defendant Dr. Heather WALSH HANEY, while working for
the University of Florida, released Ms. Lovett’s uninterred remains back to the MEDICAL
EXAMNER’S .OFFICE FOR DISTRICT FOUR.

37. Defendant Dr. Margarita ARRUZA, who at that time was the Medical Examiner
for District Four, received Ms. Lovett’s remains from Defendant WALSH HANEY.

38. The OFFICE OF THE MEDICAL EXAMINER FOR DISTRICT FOUR retained

possession of Ms. Lovett’s remains from May 12, 2000 until August 4, 2005.

 

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39. At no point in time did Defendant ARRUZA, or any other employee of the
OFFICE OF THE MEDICAL EXAM.INER FOR DISTRICT FOUR, provide notice or obtain
permission from PLAIN'I'IFFS or any other member ost. Lovett’s family to retain Ms.

' Lovett’s remains for over five years.

40. On August 4, 2005, Defendant ARRUZA transferred Ms. Lovett’s uninterred
remains back to Defendant WALSH HANEY, who at that time was employed by Florida Gulf
Coast University as an associate professor.

41. Defendant WALSH HANEY accepted the remains pursuant to her employment at
FLORIDA GULF COAST UNIVERSITY.

42. When Defendant WALSH HANEY received the remains, there was no ongoing
investigation or prosecution for Ms. Lovett’s murder. As such, there was no lawful reason for
Defendant WALSH HANEY to retain Ms. Lovett’s remains

43. Defendant WALSH HANEY retained custody of Ms. Lovett’s uninterred remains
from August 4, 2005 until July 20, 2016.2

44. [n October 2007, two of Defendant WALSH HANEY’s graduate students at
Florida Gulf Coast University were assisting in identifying remains to prepare them for shipment
to the University ofNorth Texas for DNA tests. During their work they came across boxes of the
identified remains of two homicide victims &om Jacksonville, Florida_Franlcie DeAngelo
Dennard and Je&`rey Ivan Gwyn Jr._in Defendant WALSH HANEY’s custody.

45. When the two students reported concerns to Florida Gulf Coast University that

DEFENDANT WALSH HANEY had been keeping identified remains of homicide victims and

 

2 While_there is no indication in documents recording the transfer of Ms. Lovett’s remains that the
remains were stored anywhere other than Florida Gulf Coast University, Defendant WALSH
HANEY later asserted that she stored the remains at Medical Examiner’s OH‘.ice located in Naples,
Florida.

 

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that there was no paperwork indicating that the remains had been donated by the families or that
the families were even aware that the remains were being kept, the university did not take any
action.

46. The students’ report prompted the Florida Department of Law Enforcement to
investigate Defendant WALSH HANEY.

47. The investigation uncovered the remains of two individuals whose bodies were
being held by Defendant WALSH HANEY without authorization The first case, Defendant
WALSH HANEY had identified a cranium, mandible, cervical, thoracic, and lumbar vertebrate.
Rather than return the remains to law enforcement upon completion of her report, Defendant
WALSH HANEY stated that “these remains will be curated within the HWH skeletal collection
at the Florida Gulf Coast University.”

48. ln the second case DEFENDANT WALSH HANEY retained a human cranium
and mandible that was stored in a cast-iron pot, purportedly as part of a Palo Mayom`ae religious
shrine. After identifying the remains, Defendant WALSH HANEY retained them in her personal
collection and falsely stated in her report that “Lee County Sherift"s Ofiice has donated these
specimens to me for teaching purposes.”

49. Like these other individuals, Ms. Lovett’s remains were in the custody of
Defendant WALSH HANEY even though they had already been identified

50. Defendant WALSH HANEY storing Ms. Lovett’s remains served no law
enforcement purpose, and on information and belief these remains were among those Defendant

WALSH HANEY had curated for her “private collection”'for “teaching purposes.”`

 

 

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51. At no point in time did Defendant WALSH HANEY provide notice or obtain
permission from PLAIN'I`IFFS or any other member of Ms. Lovett’s family to maintain
possession ost. Lovett’s remains for almost eleven years.

52. On July 20, 2016, Defendant WALSH HANEY returned Ms. Lovett’s uninterred
remains to the MEDICAL EXAM]NER’S OFFICE FOR DISTRICT FOUR.

53. Ms. Lovett’s remains were received by Defendant Dr. Valerie J. R.AO, who at the
time was the Medical Examiner for District Four.

54. Defendant R.AO retained Ms. Lovett’s remains from July 20, 2016 until July 19,
2017 without providing notice or receiving permission from PLAIN'I`IFFS or any other member
ost. Lovett’s family.

55. On July 19, 2017, Defendant RAO sent Plaintiif LAKOSKEY a letter to contact
the medical examiner’s office regarding Ms. Lovett’s uninterred remains.

56. Dr. RAO’s letter was the first time that PLAINTIFFS or any other member of Ms.
Lovett’s family were informed that the medical examiner had retained part of Ms. Lovett’s l
remains

57. . Dr. RAO released Ms. Lovett’s uninterred remains to Etemity Funeral Home,
located in Jacksonville, Florida.

58. On August 31, 2018, PLAINTIFFS observed as Etemity Funeral home disinterred
the remains of Ms. Lovett from her grave and brought her casket to the limera.l home. Ms.
Lovett’s casket was in poor condition and showed signs of major rust and corrosion due to the

long period of time that had passed since her initial burial.

 

 

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59. PLAINTIFFS witnessed the employees of Eternity Funeral Home remove Ms.
Lovett’s partial remains along with a white shifted animal cat and place them in a new casket
along with the remains that the medical examiner’s omce had withheld

60. The disinterment process is one that otten causes severe and mental physical
distress for those who witness it and are not accustomed to such procedures

61. Howcvcr, PLALNTIFFS and their family chose to observe these proceedings

 

because of their religious beliefs and out of love and solidarity for her deceased daughter.
PLAlNTIFFS and their family also held a second funeral for Ms. Lovett to bury the new casket
and additional remains

62. Beeause the Medical Exarniner, University of Florida, Florida Gulf Coast
University, as well their employees retained Ms. Lovett’s skull and upper body for thirty-three
years Without telling PLAINT[FFS or obtaining their permission, PLAINTIFFS laid to rest their
young, murdered daughter and sister a second time; experience which opened deep
psychological wounds that had been closing for over three decades.

COUNT I- DEPRIVATION OF PLAINTIFFS’ PROPERTY
WITHOUT DUE PROCESS OF LAW
(Dr. Bonafacio T. Floro)
63. PLAlNTlFFS reallege and incorporate by reference paragraphs 1 through 62

above.

 

64. Defendant FLORO took possession of Tina Lovett’s body to perform an
examination in accordance with the practice and procedure of investigating suspicious deaths

65. Florida law conferred a property interest for PLAINTI`FFS, as Tina Lovett’s legal
next of lcin, in the remains of their daughter and sister, rcspeetively. See Crocker v. Pleasant, 778 z

So.2d 978 (Fla. 2001); Wr'lz'z`ams v. Cily of Minneola, 575 So. 2d 683 (Fla. 5th DCA 1991). '

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66. Defendant FLORO deprived PLAINTIFFS of that property interest by retaining
possession of Ms. Lovett’s remains without providing notice to PLAlNTIFFS, or obtaining the
permission ofPLAlNTlFFS, when doing so served no lawful purpose.

67. Defendant FLORO deprived PLAINTIFFS of their property interest in Ms.
Lovett’s remains without due process of law, which is actionable pursuant to 42 U.S.C §1983.

68. As a result of Defendant FLORO’s conduct, PLAINTIFFS suffered damages
including expenses manned in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and suffering

WI-IEREFORE, Plaintiffs Mary LAKOSKBY and Arnos LOVETI` demand judgment
against Defendant FLORO for:

(a) actual and compensatory damages

(b) punitive damages

(c) reasonable attomey’s fees and costs pursuant to 42 U.S.C. §1988

(d) any other relief this Court deems just and proper.

COUNT II- DEPRIVATION OF PLAINTIFFS’ PROPERTY
WI'I`HOUT DUE PROCESS OF LAW
(Dr. Heather Walsh Haney)

69. PLAINTIFFS reallege and incorporate by reference paragraphs 1 through 62
above.

70. Defenth WALSH HANEY took possession of Tina Lovett’s remains on behalf
of the University of Florida and furnished them to the medical examiner for district four. She
subsequently took possession of Tina Lovett from TI-IE MEDICAL EXAM[NER F()R

DISTRICT FOUR on behalf of Florida Gulf Coast University.

71. Florida law conferred a property interest for PLAI'N'I`IFFS, as Tina Lovett’s legal

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next of kin, in the remains of their daughter and sister, respectively. See Crocker v. Pleasant, 778
So.2d 978 (Fla. 2001); Wr°lliams v. Cin ofMinneola, 575 So. 2d 683 (Fla. 5th DCA 1991).

72. Defendant HANEY deprived PLAIN'I`IFFS of that property interest by retaining
possession of Ms. Lovett’s remains without providing notice to PLAINTIFFS, or obtaining the
permission of PLAINTIFFS, when doing so served no lawful purpose.

73. Defendant HANEY deprived PLAINTlFFS of their property interest in Ms.
Lovett’s remains without due process of law, which is actionable pursuant to 42 U.S.C §1983.

74. As a result of Defendant HANEY’s conduct, PLAINT[FFS suffered damages
including expenses incurred in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and suffering

WI~IER.EFORE, Plaintiffs Mary LAKOSKEY and Amos LOVE'I`T demand judgment
against Defendant WALSH HANEY for:

(a) actual and compensatory damages

(b) pimitive damages

(c) reasonable attorney’s fees and costs pursuant to 42 U.S.C. §1988

(d) any other relief this Court deems just and proper.

COUNT III- DEPRIVATION OF PLAINTIFFS’ PROPERTY
WITHOUT DUE PROCESS OF LAW
(Dr. Margarita Arruza)

75 . PLAINTIFFS reallege and incorporate by reference paragraphs 1 through 62
above. _

76. Defendant ARRUZA took possession of Tina Lovett’s remains from the
University of Florida on behalf of the OFFICE OF TI-IE MEDICAL EXAM]NER FOR

DIS'IRICT FOUR.

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77. Florida law conferred a property interest for PLAINTIFFS, as Tina Lovett’s legal
next of kin, in the remains of their daughter and sister, respectively. See Croeker v. Pleasant, 778
So.2d 978 (Fla. 2001); Williams v. City of Minneola, 575 So. 2d 683 (Fla. 5th DCA 1991).

78. Defendant ARRUZA deprived PLAINTIFFS of that property interest by retaining
possession of Ms. Lovett’s remains without providing notice to PLAINT[FFS, or obtaining the
permission of PLAINTIFFS, when doing so served no lawful purpose.

7 9. Defendant ARRUZA deprived PLA].NTIFFS of their property interest in Ms.
Lovett’s remains without due process of law, which is actionable pursuant to 42 U.S.C §1983.

80. As a result of Defendant ARRUZA’s conduct, PLAINTIFFS suffered damages
including expenses incurred in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and suffering

WHEREFORE, PlaintiHs Mary LAKOSKEY and Amos LOVE'l`T demand judgment
against Defendant ARRUZA for:

(a) actual and compensatory damages

(b) punitive damages

' (c) reasonable attorney’s fees and costs pursuant to 42 U.S.C. §1988

(d) any other relief this Court deems just and proper.

COUNT IV- DEPRIVATION OF PLAINTIFFS’ PROPERTY
WITHOUT DUE PROCESS OF LAW
(Dr. Valerie J. Rao)

81. PLAINTIFFS reallege and incorporate by reference paragraphs l through 62
above.

82. Defendant RA() took possession of Tina Lovett’s remains from Florida Gulf

Coast University on behalf of the OFFICE OF THE MEDICAL EXAM]NER FOR DISTRIC'I_`

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FOUR.

83. Florida law conferred a property interest for PLAINTIFFS, as Tina Lovett’s legal
next of kin, in the remains of their daughter and sister, respectively. See Crocker v. Pleasant, 778
So.2d 978 (Fla. 2001); Willz`ams v. Cily of Minneola, 575 So. 2d 683 (Fla. 5th DCPi 1991).

84. Defendant RAO deprived PLAlNT[FFS of that property interest by retaining
possession of Ms. Lovett’s remains without providing notice to PLAINTIFFS, or obtaining the
permission of PLAINTIFFS, when doing so served no lawful purpose.

85. Defendant RAO deprived PLA]NTIFFS of their property interest in Ms. Lovett’s
remains without due process of law, which is actionable pursuant to 42 U.S.C §1983.

86. As a result of Defendant RAO’s conduct, PLAINTIFFS suffered damages
including expenses incurred in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and sui`fering.

WHEREFORE, Plaintift`s Mary LAKOSKEY and Amos LOVE'I"I` demand judgment
against Defendant RAO for:

(a) actual and compensatory damages

(b) punitive damages

(c) reasonable attomey’s fees and costs pursuant to 42 U.S.C. §1988

(d) any other relief this Court deems just and proper. '

COUNT V-D`EPRIVATION OF PLAINTIFFS’ PROPERY
WITHOUT DUE PROCESS OF LAW
(O£tice of the Medical Examiner for District Four)
87. PLAINTIFFS reallege and incorporate by reference paragraphs 1 through 62

above.

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88. Employees of the OFFICE OF THE MEDICAL EXAMINER DISTRICT FOUR
took possession of Ms. Lovett’s uninterred remains and loaned them to the University of Florida
and Florida Gulf Coast University.

89. Florida law conferred a property interest for PLAINTIFFS, as Tina Lovett’s legal
next of kin, in the remains of their daughter and sister, respectively. See Crocker v. Pleasant, 778
So.2d 978 (Fla. 2001); Williams v. City of Minneola, 575 So. 2d 683 (Fla. 5th DCA 1991).

90. Defendant FLORO deprived PLAINTIFFS of that property interest by retaining
possession of Ms. Lovett’s remains without providing notice to PLAINTIFFS, or obtaining the
permission of PLA]NTIFFS, when doing so served no lawful purpose.

91. Defendant FLORO deprived PLAINTIFFS of their property interest in Ms.
Lovett’s remains without due process of law, which is actionable pursuant to 42 U.S.C §1983.

92. Defendant’s FLORO, ARRUZA, and RAO were appointed to serve as the
medical examiner for district four and constituted final decisionmakers for the medical
examiner’s oflice regarding the retention and return of remains.

93. Altematively, Defendants FLORO, ARRUZA, and RAO’s decisions as it
pertained to the retention and return of remains and their decisions were not effectively and
immediately reviewable by any other individual.

94. As a result of these employees’ conduct, PLAINT[FFS suffered damages
including expenses incurred in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and suffering

WHEREFORE, PlaintiB`s Mary LAKOSKEY and Amos LOVETT demand judgment
against Defendant TI-IE OFFICE OF THE MEDICAL EXMAINER FOR DISTRICT FOUR for:

(a) actual and compensatory damages

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(b) reasonable attorney’s fees and costs pursuant to 42 U.S.C. §1988

(c) any other relief this Court deems just and proper.

COUNT VI- OUTRMOUS INFLICTION OF EMOTIONAL DISTRESS
(Dr. Bonaficio Floro)

95. PLA]NTIFFS reallege and incorporate by reference paragraphs 1 through 62
above.

96. Defendant FLORO outrageously or recklessly maintained the majority of Ms.
Lovett’s remains in his possession.

97 . Defendant FLORO further outrageously or recklessly misrepresented to
PLA]NTIFFS that all of Ms. Lovett’s remains were being returned to PLAINTIFFS, when in fact
he retained most of Ms. Lovett’s remains.

98. Defendant FLORO further outrageously or recklessly relinquished Ms. Lovett’s
remains to the University of Florida without giving notice or obtaining permission from Ms.
Lovett’s family, when doing so served no lawful purpose.

99. These acts Were outrageous and went beyond all bounds of decency and would be
regarded as odious and utterly intolerable in a civilized community.

100. These acts caused PLAINTIFFS severe emotional distress.

101 . As a result of Defenth FLORO’s conduct, PLAINTIFFS suffered damages
including expenses incurred in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and suffering

WHEREFORE, Plaintiffs Mary LAKOSKEY and Amos LOVET'I` demand judgment
against Defendant FLORO for:

(a) actual and compensatory damages

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(b) punitive damages
(c) any other relief this Court deems just and proper

COUNT VII- OUTRAGEOUS INFLICTION OF EMOTIONAL DISTRESS
(Dr. Margarita Arruza)

102. PLAINTIFFS reallege and incorporate by reference paragraphs 1 through 62
above.

103. Defendant ARRUZA outrageously or recklessly retained Ms. Lovett’s uninterred
remains at the Medical Examiner’s Oftice for District Four without giving notice or obtaining
permission to do so from Ms. Lovett’s family, when doing so served no lawful purpose.

104. Defendant ARRUZA further outrageously or recklessly relinquished Ms. Lovett’s
remains to the Florida Gulf Coast University without giving notice or obtaining permission from
Ms. Lovett’s family, when doing so served no lawful purpose and was explicitly proscribed by
Florida law.

105. These acts Were outrageous and went beyond all bounds of decency and would be
regarded as odious and utterly intolerable in a civilized community.

106. These acts caused PLAIN'I'IFFS severe emotional distress

107. As a result of Defendant ARRUZA’s conduct, PLA]NTIFFS suffered damages
including expenses incurred in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and suffering

WHEREFORE, Plaintii`fs Mary LAKOSKET and Amos LOVETT demandjudgment
against Defendant ARRUZA for:

(a) actual and compensatory damages

(bj punitive damages

(c) any other relief this Court deems just and proper.

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COUNT VIII- OUTRAGEOUS INFLICTION OF EMOTIONAL DISTRESS
(Dr. Valerie Rao)

108. PLAINTIFFS reallege and incorporate by reference paragraphs 1 through 62
above.

109. Defendant RAO outrageously or recklessly retained Ms. Lovett’s uninterred
remains in her possession at the medical exarninec’s office for almost a year without providing
notice or obtaining permission from Ms. Lovett’s family, when doing so served no lawful
purpose and was explicitly proscribed by Florida law.

l 10. Defendant RAO further outrageously or recklessly relinquished Ms. Lovett’s
remains to Florida Gulf Coast University without giving notice or obtaining permission ii'om Ms.
Lovett’s family, when doing so served no law enforcement purpose and was explicitly proscribed
by Florida law.

lll. These acts were outrageous and went beyond all bounds of decency and would be
regarded as odious and utterly intolerable in a civilized community.

112. These acts caused PLAINT[FFS severe emotional distress.

113. As a result of Defendant RAO’s conduct, PLAINTIFFS suHered damages
including expenses incurred in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and suffering

WHER.EFORE, Plainti&`s Mary LAKOSKEY and Amos LOVE'I'I` demand judgment
against Defendant RAO for:

(a) actual and compensatory damages

(b) punitive damages

(c) any other relief this Court deems just and proper.

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COUNT IX- OUTR_AGEOUS INFLICTION OF EMOTIONAL DISTRESS
(Dr. Heather Walsli Haney)

114. PLAIN'I'IFFS reallege and incorporate by reference paragraphs 1 through 62
above.

115, Defendant WALSH HANEY outrageously or recklessly retained Ms. Lovett’s
uninterred remains on behalf of Florida Gulf Coast University for almost eleven years without
giving notice or obtaining permission to do so from Ms. Lovett’s family, when doing so served
no lawful purpose.

116. These acts were outrageous and went beyond all bounds of decency and would be
regarded as odious and utterly intolerable in a civilized community.

117. These acts caused PLAIN'I`IFFS severe emotional distress.

118. As a result of Defendant HANEY’S conduct, PLAIN'I`!FFS suffered damages
including expenses incurred in attending the disinterment of Ms. Lovett’s remains and burying
her a second time, and severe mental pain and suifering.

WHEREFORE, Plaintiffs Mary LAKOSKEY and Amos LOVETT demand judgment
against Defendant WALSH HANEY for:

(a) actual and compensatory damages

(b) punitive damages

(c) any other relief this Court deems just and proper.

WIUW_TRML

Plaintift`s demand a trial before a jury on all issues so triable

DATED this 17'h day of October 2018.

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Respectfully submitted,

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